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                                             CRIMINAL COURTROOM MINUTE SHEET
DATE: May 31, 2024                               GRAND JURY ARRAIGNMENT                                             CASE: CR-24-213-R

Start Time: 2:11                          End Time: 2:22                                                            COURTROOM:101

MAGISTRATE JUDGE AMANDA MAXFIELD GREEN                                                              COURTROOM DEPUTY RYAN BEAM

UNITED STATES OF AMERICA vs. Mitchell Green
Defendant States true and correct name as: same                                                                                  AGE: 43
Government Cnsl: Tiffany Edgmon                                            Defendant Cnsl: Albert Hoch Jr.
U.S. Probation Officer: Candice Jones                                                                                    Retained
     Defendant Appears, with Counsel                                                           Interpreter:
     Defendant advised of his / her right of consular notification, N/A
     Court inquires of Government regarding notification of victim(s) under Justice for All Act.
     Dft informed that he / she is not required to make a statement and that any statement made by him / her may be used against him / her.
     Dft advised of his / her right to an attorney.                                     Dft fully advised of the substance of the count(s).
     Dft provided copy of Indictment                                                    Dft waives reading of the Indictment by the Court.
     Dft enters plea of Not Guilty

     Case set on jury docket beginning the week of July 9, 2024 at 9:00 a.m. before U.S. District Judge David Russell

     Government recommends defendant be released on bond and conditions
     Government recommends defendant be detained based on
     Government
              Upon motion of the Government and request for continuance by
              Detention Hearing is set for
      Defendant waives/reserves right to detention hearing. Waiver/Reservation of detention hearing and consent to Order of Detention pending
      further proceeding entered. Order of Detention entered.
      Defendant requests the detention hearing be postponed at this time reserving the right to request a hearing at a later date should
      defendant's circumstances change.

The Court Orders:
     FRCrP5(f) REMINDER: As required by Rule 5(f), the Court reminds the United States of it disclosure obligation under Brady v.
     Maryland, 373 U.S. 83 (1963), and its progeny. Possible consequences for a violation of this obligation may include, but are not limited
     to, exclusion of evidence at trial, a finding of contempt, granting a continuance, or dismissal of the charges with prejudice
     Defendant temporarily detained pending Detention hearing. Written Order entered. Defendant remanded to custody of U.S. Marshal.
     Defendant detained per Detention Order previously entered. Defendant remanded to custody of U.S. Marshal.
     Defendant released on previously posted bond with conditions per Release Order.
     Unsecured Bond set at $5,000.00                                         with conditions per Release Order.
     Secured Bond set at                                                    with conditions per Release Order as the Court finds that the
     release of the Defendant on a personal recognizance bond or unsecured appearance bond would not reasonably assure his / her appearance
     in court and the safety of the community.
     Defendant remanded to the custody of U.S. Marshal pending execution of bond.
     Defendant remanded to the custody of U.S. Marshal.




SR-03-2020
